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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 20-14207-CIV-MAYNARD

   JERMAINE NATTOO, on behalf of himself
   and all others similarly situated,

          Plaintiff,

   v.

   TPUSA-FHCS, INC., a Foreign Profit Corporation
   (d/b/a) TELEPERFORMANCE USA

         Defendant.
   ________________________________________/

              ORDER ON PLAINTIFF’S MOTION TO CONDITIONALLY CERTIFY
                  COLLECTIVE ACTION AND TO FACILITATE NOTICE
                       TO POTENTIAL CLASS MEMBERS (DE 34)

          THIS CAUSE comes before this Court on Plaintiff’s Motion to Conditionally Certify

   Collective Action and Facilitate Notice to Potential Class Members. DE 34. For the reasons set

   forth below, as well as the lenient standard applicable to this early stage, Plaintiff’s motion is

   granted.

                                          BACKGROUND

          On June 24, 2020, Plaintiff Jermaine Nattoo filed a Complaint on behalf of himself and

   others similarly situated against Defendant TPUSA-FHCS, Inc., a foreign profit company doing

   business as Teleperformance USA (“Defendant”). DE 1. The Complaint alleges that Defendant

   operates call centers throughout the United States and fails to pay its customer service

   representatives for hours worked in excess of forty hours per week in violation of the Fair Labor

   Standards Act (“FLSA”), 29 U.S.C. § 201. DE 1 at ¶3. The Complaint alleges the existence of an

   FLSA class as well as a class under Rule 23 of the Federal Rules of Civil Procedure. DE 1 at ¶¶61-
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   72. With respect to the FLSA, Plaintiff seeks in the Complaint to represent “all current and former

   hourly customer service representatives or other job titles who perform similar job duties who

   worked for TPUSA at any time in the last three (3) years.” Id. at ¶61. In the Motion for Conditional

   Certification, however, Plaintiff seeks to conditionally certify a more narrow class of “current and

   former similarly situated Florida call center employees of defendant, TPUSA- Inc., who were

   employed/classified as customer service representatives or sales agents or held similar job titles,

   and worked for Defendant at any time in Florida from June 2017 through resolution of this case.”

   DE 34 at ¶1 (emphasis added). In support of the Motion, Plaintiff proffers his own declaration

   along with declarations from five other individuals – India Crosske, Erica Vasquez, Sam Lamanna,

   Wislet Metayer, and Mickel Major – who say they worked as customer service representatives in

   Defendant’s Port St. Lucie and North Lauderdale offices. DE 34-2, 34-3, 34-4, 34-5, 34-6 and 34-

   7. These individuals opted into the class by filing Consents to Join, DE 4, 30, 31, 32, 33, but two

   of these consents were stricken from the record based on the parties’ agreement. DE 56 (order

   granting Defendant’s motion to strike consents to join filed by Sam Lamanna and Mickel Major).

   As a result, the undersigned considers the declarations of the named Plaintiff, Erica Vasquez, India

   Crosske and Wislet Metayer in ruling on Plaintiff’s motion to conditionally certify. Vasquez,

   Crosske and Metayer will be referred to as Opt-In Plaintiffs throughout this Order.

           Plaintiff declares that there are “at least 500 employees” that perform substantially similar

   duties who were not paid overtime for pre-and post-shift work causing them to work more than

   forty hours per week. DE 34-2 at ¶40. Plaintiff believes that if formal notice is given, current and

   former employees will opt into the lawsuit. Id. at ¶39.

          The Opt-in Plaintiffs’ declarations are virtually identical to Plaintiff’s. All state that they

   were customer service representatives or sales agents employed by the Defendant in Florida to



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   make and take phone calls from Defendant’s customers at Defendant’s call centers. See e.g. DE

   34-2 at ¶4, 34-3 at ¶¶6-7, 34-4 at ¶¶5-6, 34-6 at ¶4. All claim to have been required to arrive for

   their work shifts between fifteen and thirty minutes early to perform pre-shift tasks before they

   clocked in to work. These pre-shift duties included entering through security, finding a locker to

   store their personal belongings, finding available workstations and chairs, finding available

   computers, finding and retrieving headsets, and logging into the computer by completing various

   standardized log in procedures. Plaintiffs also say they were required to remain on the phones

   during scheduled meal/rest breaks when the call center experienced high call volume, calls were

   backed up, or they were “stuck on the phone” with a customer. E.g. DE 34-3 at ¶¶8-11. In addition,

   Plaintiffs say they were required to perform work duties after clocking out for the day because

   they had to shut down their computers and programs which could take five to ten minutes every

   day. Id. at ¶24. Plaintiffs allege the Defendant did not pay them for this pre or post shift work,

   which caused them to work more than forty hours per week without the pay required by the FLSA.

   See e.g. DE 34-2 at ¶8, 34-3 at ¶8, 34-4 at ¶8, 34-6 at ¶8.

                                             DISCUSSION

          Plaintiff’s motion makes two requests. First, Plaintiff asks the Court to conditionally certify

   an FLSA class pursuant to 29 U.S.C. § 216(b) of the FLSA. Second, Plaintiff requests that the

   Court “facilitate notice,” by (1) directing Defendant to provide Plaintiffs with a list of names and

   contact information of any potential class members, (2) authorizing Plaintiffs to notify these

   persons that they may join the litigation and assert claims under the FLSA, (3) authorizing potential

   class members to electronically sign consents to join, (4) requiring Defendant to post notices about

   the litigation in its Florida call centers, and (5) giving potential class members ninety days to opt

   into the class. DE 34. The undersigned addresses each of these requests in turn.



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       I.      Conditional Certification

            Pursuant to 29 U.S.C. § 216(b) of the FLSA, the Court may issue an order conditionally

   certifying a collective action of employee-plaintiffs against their employer for unpaid minimum

   wages or unpaid overtime. Unlike a class action under Rule 23 of the Federal Rules of Civil

   Procedure, a collective action under the FLSA requires each putative plaintiff to affirmatively opt-

   into the class action and those opt-in plaintiffs must be similarly situated. Hipp v. Liberty Nat’l

   Life Ins. Co., 252 F.3d 1208, 1216-17 (11th Cir. 2001).

            The Eleventh Circuit has used a two-stage process to decide whether to certify an opt-in

   class. Reyes v. AT&T Corp., 801 F. Supp. 2d 1350, 1355 (S.D. Fla. 2011) (citing Hipp, 252 F.3d

   at 1219). During stage one, commonly referred to as the “notice stage,” the plaintiff must

   demonstrate a reasonable basis to believe (1) other employees of the Defendant desire to opt-in;

   and (2) these other employees are similarly situated with respect to their job requirements and pay

   provisions. Id. at 1355. These two elements have been referred to as the interest prong and similarly

   situated prong. Id. at 1356. Further, the Eleventh Circuit has stated the broad discretion afforded

   to the district court at the notice stage is constrained a bit by the leniency of the standard, so where

   discovery has not been completed and the court has minimal evidence, the typical result is that the

   motion is granted. Hipp, 252 F.3d at 1219. At stage two, the Defendant files a motion to decertify

   the class. Hipp, 252 F.3d at 1218. After a discovery period allowing the parties to determine the

   extent to which opt-in plaintiffs are interested in the litigation and factually similar, the court then

   rules on whether the class should be certified. Id. This second stage has a far more stringent

   standard of review than the notice stage’s lenient review. Id.

            To satisfy the interest prong at the notice stage, a plaintiff must make a showing that other

   employees have the desire to opt-in to the putative class. Reyes, 801 F. Supp. 2d at 1355. “The best



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   evidence of a potential class is the existence of numerous named plaintiffs who have already opted

   in [.]” Benitez v. Balans L.C., 2010 WL 11602404, at *3 (S.D. Fla. Dec. 6, 2010). This is not a

   heavy burden on the plaintiff. Id.; see also Rojas v. Garda CL Se., Inc., 297 F.R.D. 669, 676 (S.D.

   Fla. 2013) (the burden on a plaintiff to demonstrate the “existence of other potential opt-in

   plaintiffs is not onerous”). Even the existence of just one other co-worker who desires to join the

   class is sufficient to satisfy the interest prong. Bennet v. Hayes Robertson Group, Inc., 880 F. Supp.

   2d 1270, 1283 (S.D. Fla. 2012); see also Guerra v. Big Johnson Concrete Pumping, Inc., 2006

   WL 2290512, at * 4 (S.D. Fla. May 17, 2006) (the affidavit of at least one other co-worker raises

   the plaintiff’s contention that others desire to join the suit beyond mere speculation).

          Satisfying the substantial similarity prong has also been described as “not particularly

   stringent,” “fairly lenient,” and “flexible.” Morgan v. Family Dollar Stores, Inc., 551 F.3d. 1233,

   1261 (11th Cir. 2008) (internal quotations omitted). To be conditionally certified, a plaintiff need

   only show that class members are “‘similarly situated’ with respect to their job requirements and

   with regard to their pay provisions.” Dybach v. State of Fla. Dep’t of Corrs., 942 F.2d 1562, 1567-

   68 (11th Cir.1991). A plaintiff does not need to show “his position is ‘identical’ to the position

   held by any other putative class member.” Reyes, 801 F. Supp. 2d at 1356 (citing Grayson, 79 F.3d

   at 1096 n.2). Factual matters related to duties, locations, and other variations between putative

   plaintiffs have usually been reserved for the later stage in the process. Vondriska v. Premier Mortg.

   Funding, Inc., 564 F. Supp. 2d 1330, 1335 (M.D. Fla. 2007) (granting conditional certification

   despite factual differences in opt-in plaintiffs’ duties and titles); Pendlebury v. Starbucks Coffee

   Co., 2005 WL 84500, at *3 (S.D. Fla. Jan. 3, 2005) (granting conditional certification despite

   variation in location and time spent at different locations operated by defendant).




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          Regarding the interest prong, in addition to the named Plaintiff, three other employees have

   consented to join this litigation as Opt-in Plaintiffs. DE 4, 30 and 32. They have submitted

   declarations confirming their interest in participating in the case. 34-3, 34-4, 34-6. Plaintiffs’

   declarations state that they worked for Defendant as customer service representatives or sales

   agents during the relevant time period, their duties included making and taking phone calls to and

   from Defendant’s customers, they were hourly employees who worked before and after their shifts

   without pay, and they were not paid overtime for working more than forty hours per week. Their

   unpaid pre-shift activities included going through security, finding workstations, computers and

   equipment, and logging into their computers before they could clock into work. These pre-shift

   activities typically took fifteen to thirty minutes, and declarants were not paid for that time.

   Declarants also allege that they were required to clock out for the day before shutting down and

   turning off their computers, which often took one to five minutes. They were not paid for these

   post-shift activities either. The declarants say they were not paid overtime when they worked more

   than forty hours a week.

          Defendant submits declarations from other employees disputing these claims. DE 44-1, 44-

   7, 44-8, 44-9, 44-10, 44-11, 44-12, 44-13, 44-14, 44-15, 44-16, 44-17. The declarants include HR

   representatives, customer service supervisors, and current employees who all dispute Plaintiff’s

   allegations that Defendant required workers to work more than forty hours a week without proper

   pay. Declarants Laura Cancio, Melinda Graham, Aaliyah Harris, Raymon Jones, Evince Lucien,

   Rebecca Metelus, Autumn Otto, and Danielle Paris all say that they were never required to stay

   after their shifts or before logging into their computers. DE 44-7 at ¶15, 44-8 at ¶15, 44-9 at ¶16,

   44-10 at ¶16, 44-11 at ¶16, 44-12 at ¶16, 44-13 at ¶16, 44-14 at ¶15. Declarants Jackie Julceus,

   Natalie Valentine, and Larry Sell all discuss the use of the CCMS system or “Call Center



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   Management System,” which is designed to keep track of employees work times and prevent

   undocumented work post and pre-shift. DE 44-15 at ¶¶9, 23, 44-16 at ¶¶8, 21, 44-17 at ¶¶8, 12.

   Human Resource Director Stephen Butauski’s Declaration corroborates these factual contentions.

   DE 44-1 at ¶¶7-9.

           Defendant’s declarations contradict Plaintiffs’ allegations that Defendant failed to

   compensate employees within the guidelines of the FLSA. However, Defendant asks the Court to

   do what it should not at this stage of the case, that is, decide facts and determine credibility based

   on competing declarations without further discovery. Further, despite Defendant’s declarations,

   case law demonstrates that the existence of just one opt-in plaintiff is enough to create a reasonable

   basis to believe that interest exists. See Bennet, 880 F. Supp. 2d at 1283 (just one other co-worker

   who desires to join is sufficient to “rais[e] the Plaintiff’s contention beyond one of pure

   speculation”) (quoting Guerra, 2006 WL 2290512, at * 4); see also Rojas., Inc., 297 F.R.D. at

   676; see also Compere v. Nusret Miami, LLC, 391 F. Supp. 3d 1197, 1205 (S.D. Fla. 2019). Here,

   not one, but three employees in addition to the Plaintiff have declared their interest in joining this

   litigation. DE 1, 4, 30, 32. That is sufficient to satisfy the interest prong at this stage of the case.

           Plaintiffs also have demonstrated a reasonable basis to believe other similarly situated

   employees would join this litigation. Plaintiffs submit declarations from individuals who say they

   worked as customer service representatives or sales agents for the Defendant; had certain duties in

   common; worked more than forty hours per week; and did not receive overtime pay. These

   similarities are sufficient for purposes of conditional FLSA certification. See Dybach, 942 F.2d at

   1567-68 (class members must be similarly situated with regard to their job requirements and pay

   provisions for an FLSA class to be conditionally certified); see also Reyes, 801 F. Supp. 2d at 1357

   (class members were substantially similar when they shared pay provisions, shared duties, and



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   worked more than forty hours a week without overtime pay); see also Vondriska, 564 F. Supp. 2d

   at 1335 (granting conditional certification during notice stage despite factual differences in opt-in

   plaintiffs’ duties and titles).

           As with the interest prong, Defendant asks the Court to look beyond the Plaintiffs’

   declarations and consider factual differences presented by the Plaintiffs’ depositions to determine

   whether the similarly situated requirement has been met. Defendant points out, for example, that

   the Opt-in Plaintiffs worked on different customer accounts and reported different details about

   the types of activities they did without pay. Defendant also relies on the declarations it submitted

   from employees who say they were not required to engage in pre and post shift unpaid work

   activities. At this stage, however, the Court will not make credibility determinations or decide

   which side has the better evidence. Seeking a factual determination on the similarly situated issue

   “by presenting a vast amount of affidavit evidence,” shows “a fundamental misunderstanding of

   the nature of the proceedings at this stage of the litigation.” Reyes, 801 F. Supp. 2d at 1358

   (quoting Morden v. T-Mobile USA, Inc., 2006 WL 2620320, at *3 (W.D. Wash. Sept. 12, 2006)).

   Factual determinations and decisions about credibility are best left to the decertification process.

   Simpkins v. Pulte Home Corp., 2008 WL 3927275, at *5 (M.D. Fla. Aug. 21, 2008) (certifying

   conditional class despite Defendant’s submission of its own declarations to explain “what it

   perceives as a factual differences between members of the potential opt-in class”).

           As for Defendant’s argument that Plaintiff’s declarations are “cookie cutter,” the Court

   notes that the declarations Defendant submits are fairly “cookie-cutter” too. Thus, the Court will

   wait until further discovery is completed to weigh credibility, examine inconsistencies and analyze

   factual differences between declarations, depositions, and other evidence in this case. At this point,

   the Court is required only to judge whether Plaintiffs’ have submitted “detailed allegations



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   supported by affidavits which successfully engage defendants’ affidavits to contrary.” Grayson v.

   K Mart Corp., 79 F.3d 1086, 1097 (11th Cir. 1996). In this Court’s view, Plaintiffs have met this

   low burden at this stage of the case.

             Based on the evidence before it, the Court will conditionally certify and facilitate notice to

   the following proposed class:

                     current and former call center employees of Defendant who
                     were employed/classified as customer service representatives or
                     sales agents or held similar job titles and worked for Defendant
                     at any time in Defendant’s Port St. Lucie office from June 2017
                     through resolution of this case.

   The Court limits the conditional class to current and former employees who worked in Defendant’s

   Port St. Lucie office because that is the office where Plaintiff and the Opt-in Plaintiffs worked.

   Plaintiffs have failed to show the existence of similarly situated employees from Defendant’s other

   offices who desire to join this litigation.1

       II.      Notice

             Defendant raises several objections to Plaintiff’s proposed Notice, which may be found in

   the record at DE 34-8. The Court addresses Defendant’s objections as follows.




   1
     Sam Lamanna and Mickel Major filed Consents to Join and submitted declarations, but Plaintiffs subsequently
   agreed to dismiss these individuals from the case. DE 55. Although the parties’ pleadings suggest that Lamanna and
   Major worked in the North Lauderdale call center, only Sam Lamanna claims to have worked in the North Lauderdale
   office in his Declaration. DE 34-5 at ¶6. Major’s avers in his Declaration that he worked in the Port St. Lucie call
   center. DE 34-7 at ¶6. For its part, Defendant disputes that it even owns the North Lauderdale office. According to
   Defendant, North Lauderdale is owned by Defendant’s parent company, TPUSA, Inc., and Defendant is not
   responsible for any of the North Lauderdale employees. DE 53 at pp. 2-3, 7 (citing S. Butauski Decl. at DE 44-1).
   This Court need not resolve this issue, however. Given Mr. Lamanna’s dismissal from the case, no North Lauderdale
   employees are presently involved in the litigation, nor have Plaintiffs established that employees in North Lauderdale
   are similarly situated to them. Thus, this Court conditionally certifies a class of former and current employees who
   worked in the Port St. Lucie office only.



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          A.      Dissemination of Notice

          Defendant is adamant that the Notice of Conditional Class Certification be sent to the Port

   St. Lucie call center only. DE 44 at 17. This Court agrees. See fn. 2, supra. Upon review of the

   cases Defendant cites, the Court finds these authorities persuasive. For example, in Pomareda v.

   Homebridge Mortgage Bankers Corp., the court limited the scope of the notice to only Deerfield

   Beach plaintiffs because prospective opt-in plaintiffs from California and New York had not filed

   consents to join. No. 06-61864-CIV, 2007 WL 624331, at *2-3 (S.D. Fla. Feb. 23, 2007)).

   Similarly, in Wynder v. Applied Card Systems, Inc., only employees who worked at the Boca Raton

   location showed interest in the litigation, nowhere else. See No. 09-80004-CIV, 2009 WL

   3255585, at *3 (S.D. Fla. October 7, 2009). In Wynder, 2009 WL 3255585, at *3. The holding in

   Wynder supports Defendant’s argument that a lack of opt-in plaintiffs from a particular location

   diminishes the likelihood that employees from that location are interested in joining. Like

   Pomereda and Wynder, the Opt-in Plaintiffs in this case worked in only one of the Defendant’s

   locations. Without a single opt-in plaintiff from elsewhere, the class must be limited to the Port St.

   Lucie office only.

          Defendant further argues that Notice should be provided only to employees working on a

   particular account in the Port St. Lucie office because that is the account the Plaintiffs worked on

   and no other account is pertinent to the litigation. DE 44 at 17. The Court rejects this request.

   Limiting notice only to employees working on a particular account would require the Court to

   ascertain facts not known with certainty at this stage of the case. Distinguishing between

   employees based on accounts worked on or assigned supervisors requires precisely the kind of

   factual analysis better made post-discovery. For these reasons, the Court will permit the Plaintiffs




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   to provide notice to former and current customer service representatives who worked at the Port

   St. Lucie call center, regardless of which accounts these representatives serviced.

          B.      The Lookback Period

          Defendant’s second objection is that Plaintiffs’ proposed Notice has a “lookback” period

   of three years. DE 44 at ¶18. A claim for overtime wages under the FLSA must be brought within

   two years after the cause of action accrues, unless the cause of action “arises out of a willful

   violation” on the part of the employer, in which case it must be brought within three years from

   when the cause of action accrues. 29 U.S.C. § 255(a). Defendant argues that any alleged violation

   of the FLSA in this case was not willful. Thus, the proper lookback period is two years and notice

   should be limited to only those individuals whose claims would have accrued during that time. DE

   44 at 18-20.

          A violation of the FLSA is “willful” if the employer knew or showed reckless disregard

   for whether its conduct was prohibited by the FLSA. McLaughlin v. Richland Shoe Co., 486 U.S.

   128, 133-135 (1988); Trans World Airlines, Inc. v. Thurston, 469 U.S. 111, 126 (1985). Even if

   an employer acts unreasonably, such action is not considered willful unless the employer was

   reckless in determining its legal obligations. See Powell v. Carey Int’l, Inc., 483 F. Supp. 2d 1168,

   1175 (S.D. Fla. 2007) (emphasis added) (finding a genuine dispute of fact as to whether an

   employer acted with reckless disregard when it had sought the advice of counsel as to its

   obligations under the FLSA).

          Defendant argues their conduct did not willfully violate the FLSA because they had various

   protocols in place to prevent unpaid overtime. DE 44 at 18-19. These included providing reminders

   of time keeping policies, posting notices of the policies, and providing intranet information about

   company practices for time keeping. Id. Plaintiff agrees that protocols existed but argues that



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   Defendant failed to follow them. DE 1 at ¶29. Additionally, Plaintiff states in its Reply that

   “Defendant has been investigated by the Department of Labor well over twelve (12) times,

   throughout the country, for the same FLSA violations, paying millions of dollars in back wages to

   thousands of employees[.]” DE 53 at 8. If true, such evidence might establish willfulness. At this

   stage of the litigation, the Court cannot determine facts relating to willfulness. The Court will

   therefore overrule Defendant’s request to limit notice to a two-year lookback period. Should

   discovery reveal that the alleged violations were not willful, the Court can strike the claims of any

   opt-in plaintiffs that fall beyond the two-year period at a later stage in this case.

           C. Defendant’s Other Objections

           In addition to the above objections, Defendant requests that the Notice be distributed by

   first class mail and personal e-mail only, and that notice of the litigation not be posted at the

   workplace. DE 44 at 21. Defendant requests a Forty-Five (45) day opt-in period, rather than the

   Ninety (90) day period requested by the Plaintiffs. Id. Defendant requests that the names of defense

   counsel, the names of other plaintiffs’ lawyers, and information regarding the rights and

   obligations of putative class members be included in the Notice. Id. at 22. Defendant objects to

   providing employees’ social security numbers or phone numbers to the Plaintiffs for the purpose

   of giving notice of the class action. Id. Defendant asks that the scrivener’s error on page five of

   Plaintiff’s proposed Consent to Join, which is attached to Plaintiff’s proposed Notice, be

   corrected.2 DE 34-9 at 5. Defendant makes no objections to class members being allowed to

   electronically sign Consents to Join.




   2
     On page five of Plaintiff’s Proposed Consent to Join, there is a reference to an unrelated matter referred to in
   Plaintiff’s pleadings as Michael Dunsavage v. Aloha Pool Services, Inc., Michael A. Folz, and/or Pamela M. Folz.
   This reference must be omitted from the Notice.



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          In Plaintiff’s Reply, Plaintiff agrees to the Forty-Five (45) day opt-in period, rather than its

   proposed Ninety (90) day opt-in period. DE 53 at 9. Plaintiff also agrees to send notice by personal

   email and first-class mail and agrees to add defense counsel’s names to the Notice. Id. Plaintiff

   further agrees to add a section in the Notice regarding the rights and obligations associated with

   being a putative class member. Id. Plaintiff does not address Defendant’s objections to providing

   them with social security numbers or phone numbers. Plaintiff also does not address the scrivener’s

   error on page five of the proposed Consent to Join, or Defendant’s desire to include the names of

   other plaintiff’ lawyers so potential class members will know they are not required to hired

   Plaintiffs’ counsel.

          Based on the parties’ agreement, the Court instructs as follows: (1) The Notice shall be

   distributed by personal email and first-class mail only; (2) The opt-in period shall be Forty-Five

   (45) days; (3) The Notice shall include the names and contact information of defense counsel; (4)

   The Notice shall include a section discussing the rights and obligations associated with becoming

   a member of the putative class; and (5) Putative class members may electronically sign the Consent

   to Join forms. Regarding the remaining issues, the Court sees no reason social security numbers

   and phone numbers should be disclosed. Therefore, the Court grants Defendant’s request not to

   provide that information to the Plaintiffs. Plaintiffs are instructed to correct any scrivener’s errors

   included in the proposed Notice. Lastly, only the names of counsel of record in this case shall be

   referenced in the Notice. The Notice shall, however, include a section explaining that putative

   class members have a right to seek independent counsel.

                                             CONCLUSION

          Based on the foregoing, it is therefore,




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           ORDERED AND ADJUDGED that Plaintiff’s Motion to Conditionally Certify

   Collective Action and to Facilitate Notice to Potential Class Members (DE 34) is GRANTED. It

   is further,

           ORDERED AND ADJUDGED that the Parties shall confer and file a joint proposed

   Notice to Putative Opt-In Plaintiffs incorporating the Court’s ruling within seven (7) days of the

   date of this Order.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 7th day of July, 2021.


                                        ____________________________________
                                        SHANIEK M. MAYNARD
                                        UNITED STATES MAGISTRATE JUDGE




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